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Case 2:18-cr-OOO40-RSL Document 1 Filed 02/12/18 Page 1 of 3

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AT SEAmE UNITED sTATEs DISTRICT CoURT FoR THE

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UNITEI) sTATEs oF AMERICA, /Q
No. ix-cR- 00£{0 SZ’

Plaintiff,
lNFORMATION

V- Count one; 18 U.S.C. § 1343
RAPHAEL A. sANCHEZ, (Wire Fraud)

Defendant. Count Two: 18 U.S.C. § 1028A
' (Aggravated Identity Thef’c)

 

 

The United States of America, by and through the United States Department of Justice,
Criminal Division, Public Integrity Section, charges that:
COUNT ONE

Wire Fraud
(Title 18, United States Code Section 1343)

 

Beginning in or about October, 2013, and continuing until on or about October 25, 2017,
in the Western District of Washington, the defendant,
RAPHAEL A. SANCHEZ,
devised and intended to devise a scheme and artifice to defraud financial institutions, including
Arnerican Express Company, Bank of America Corporation, Capital 0ne Financial Corporation,
Citibank, Discover Financial Services, and JPMorgan Chase & Co., by using the personally
identifying information of seven aliens in various stages of immigration proceedings with the

United States Immigrations and Customs Enforcement to obtain money and property by means of

_ 1 U.S. DBPARTMENT OF .TUSTICB
CR!M]NAL DIVISION

 

 

PUBL]C INTBGRITY SECI'ION
1400 NEw Yoiu< AvENuE, Nw
wAsmNGroN, D.c. 20005
(202) 514-1412

 

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Case 2:18-cr-OOO40-RSL Document 1 Filed 02/12/18 Page 2 of 3

materially false and fraudulent pretenses, representations, and promises, and in doing so,
transmitted and caused to be transmitted by means of wire communications in interstate or foreign
commerce, writings, signals, and email communications for the purpose of executing such scheme
and artifice to defraud; including but not limited to the following email that SANCHEZ caused to

be sent via interstate wires:

 

DATE OF WIRE DESCRIPTION OF WIRE COMMUNICATION

 

Ernail message sent hom Raphael.Sanchez@ice.dhs.gov to
' Raphael.Sanchez@ice.dhs.gov and Raphael_sanchez@yahoo.com,
Apnl 18’ 2016 containing a Puget Sound Energy bill addressed to R.H. for service
at 3516 South Webster Street #A, Seattle, Washington, and an
image of a United States permanent resident card and the
biographical page of a Chinese passport issued to R.H., originating
in Washington and utilizing email servers in W_est Virginia and
Mississippi

 

 

 

 

All in violation of Title 18, United States Code Section 1343.

 

§_Q._UN_'.L_T_V_V_Q
Aggravated Identity Theft
(Title 18, United States Code Section 1028A)

 

On or about July 5, 2016, in the Western District of Washington, the defendant,
RAPHAEL A. SANCHEZ,
did knowingly transfer, possess, and use, without lawful authority, a means of identification of
another person, including the name, Social Security number, and birth date of R.H., a real person,
during and in relation to a felony violation enumerated in 18 U.S.C. § 1028A(c), to wit, wire fraud
in violation of 18 U.S.C. § 1343, as charged in Count One of this lnformation, in violation of 18

U.s.c. § 1028A(a)(1). _

- 2 U.s. DEPARTMENT OF JUSTICE
CliNAL DlvrsloN `
PuBch INTEGRrrY SEcnoN
1400 NEw Yomc AVENUB, NW
WASHINGT<)N, D.C. 20005
(202) 514-1412

 

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Case 2:18-cr-OOO40-RSL Document 1 Filed 02/12/18 Page 3 of 3

Respectfully submitted,

ANNALOU TIROL
ACTING CHIEF
P LIC RITY SECTION

J.w

Luke Cass_

  
   

 

ica C. Harvey
Trial Attorneys
Public Integrity_ Section

United States Department of Justice
1400 New York Avenue NW, 12th Floor
Washington, D.C.

U.S. DEPAR'mENT or JUSTICE
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WAsHmcroN, D.C. 20005
(202) 5 14-1412

 

